        Case 1-10-46319-jbr   Doc 13   Filed 08/24/10    Entered 08/24/10 12:27:08




                                            Certificate Number: 01401-NYE-DE-012094200
                                            Bankruptcy Case Number: 10-46319


                                                           01401-NYE-DE-012094200




               CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on August 23, 2010, at 9:21 o'clock PM EDT, Liz Rais
completed a course on personal financial management given by internet by
GreenPath, Inc., a provider approved pursuant to 11 U.S.C. § 111 to provide an
instructional course concerning personal financial management in the Eastern
District of New York.




Date:     August 23, 2010                   By:      /s/Holli Bratt


                                            Name: Holli Bratt


                                            Title:   Counselor
